          Case 21-51345-jrs                  Doc      Filed 08/09/21 Entered 08/09/21 13:44:06                                Desc Main
 Fill in this information to identify the case:        Document     Page 1 of 7

 Debtor 1          Larry Darnell Gore, Jr.
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Northern
                                         __________ District of Georgia
                                                                __________

 Case number           21-51345-jrs
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                      16
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          0 ____
                                                        ____ 6 ____
                                                                 2 ____
                                                                     9              Must be at least 21 days after date        9/1/2021
                                                                                                                               _____________
                                                                                    of this notice


                                                                                    New total payment:                                1168.10
                                                                                                                               $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                    414.37*
                   Current escrow payment: $ _______________                      New escrow payment:                   474.74
                                                                                                              $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
           Case 21-51345-jrs                    Doc               Filed 08/09/21 Entered 08/09/21 13:44:06                          Desc Main
                                                                   Document     Page 2 of 7

Debtor 1         Larry  Darnell Gore, Jr.
                 _______________________________________________________                        Case number         21-51345-jrs
                                                                                                              (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                                Date     08/06/2021
                                                                                                         ___________________




 Print:             Wanda    D. Murray
                    _________________________________________________________                   Title   Authorized  Agent for Creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Aldridge  Pite, LLP
                    _________________________________________________________



 Address            Fifteen Piedmont Center, 3575 Piedmont Rd, N.E. Suite 500
                    _________________________________________________________
                    Number                 Street

                    Atlanta                          GA     30305
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      (404 ) 994-7400
                    ________________________                                                          WMurray@aldridgepite.com
                                                                                                Email ________________________




*Please note that the old escrow payment amount included in the attached Annual Escrow Account Statement reflects the escrow payment amount
prior to the filing of the bankruptcy case. The existing post-petition escrow payment amount is $414.37, as reflected on the Escrow Payment
Analysis included in Creditor’s Proof of Claim.




Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 2
                                                           REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 4
                          Midland Mortgage
Case 21-51345-jrs      Doc
                P.O. Box 26648               Filed 08/09/21 Entered 08/09/21 13:44:06                                       Desc Main
                          Oklahoma City, OK 73126-0648
                                               Document    Page 3 of 7 Loan number:
                                                                                                   198 MELODY LN
                                                                                       LAWRENCEVILLE GA 30043
                                                                                         Date Reviewed: 06/15/2021
                                                                             Next Escrow Cycle: Sep 2021 - Aug 2022


        LARRYD GORE JR
        198 MELODY LANE
        LAWRENCEVILLE GA 30043




                                             Escrow Account Statement
   Why am I          Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
   receiving         Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                     pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
   this
                     your loan documents. This statement shows how those expenses affect the amount of your monthly
   statement?        mortgage payment.
   Why did my        The most common reason escrow payments change is an increase or decrease in the amounts you
   payment           pay in property taxes and homeowner's insurance. If you have questions about a change in your
   change?           tax or insurance bills, please contact your local taxing authority or insurance agent.

   What do I         Please review your escrow statement below, which explains how the shortage will impact your
   need to do        monthly payment. The last page of this statement includes helpful answers to common escrow
                     questions.
   next?
   Important         If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                     currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
   Notices           from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                     obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                     Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                     an attempt to collect a debt, and any information obtained will be used for that purpose.

                     Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                     Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                     that purpose.



   New Monthly Mortgage Payment
   The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
   has changed. Because of this, your mortgage payment has changed to $1,168.10 beginning with the 9/1/2021
   mortgage payment.

   Monthly Payment                                            Old Payment                  New Payment                   Change
   Principal & Interest                                       $693.36                      $693.36                       None
   Escrow Deposit plus Escrow Shortage or Surplus             $380.67                      $474.74                       Increase
   Total Monthly Mortgage Payment                             $1,074.03                    $1,168.10                     Increase

   Escrow Bills and Escrow Payment
   The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
   last review and the new amounts we expect to pay from your escrow account between September 2021 and August
   2022.

   Escrow Bills                                   Old Amount                       New Amount                            Change
   Homeowners Ins                                 $1,421.00                        $1,656.00                             Increase
   County Tax                                     $3,551.48                        $3,551.48                             None
   Annual Total                                   $4,972.48                        $5,207.48                             Increase
                                                                                                                                         Page     2 of 4
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  Required Minimum Balance
  The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
  documents, federal and/or state law. The new required minimum balance in your escrow account is $867.90

                                 Your lowest expected escrow balance:                                                                          $378.32
                                 Your required minimum balance                                                                                 $867.90
                                 The difference creates a shortage in your escrow account of:                                                 -$489.58
  Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$489.58 in your
  escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
  bolded numbers in the Anticipated Balance and Required Balance columns.


  Expected Escrow Account Transactions
  The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
  as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
  account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
  different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
  future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
  account reviewed to avoid a large shortage or surplus in the future.

                             EXPECTED PAYMENTS           EXPECTED PAYMENTS                                              ANTICIPATED          REQUIRED
      MONTH-YEAR                 TO ESCROW                  FROM ESCROW                 DESCRIPTION                        BALANCE            BALANCE
                                                                                        Starting Balance                   $5,151.85          $5,641.43
       Sep-21                    $433.95                         -$1,656.00             HAZARD                             $3,929.80          $4,419.38
       Sep-21                    $0.00                           -$3,551.48             COUNTY TAX                           $378.32           $867.90
       Oct-21                    $433.95                         $0.00                                                       $812.27          $1,301.85
       Nov-21                    $433.95                         $0.00                                                     $1,246.22          $1,735.80
       Dec-21                    $433.95                         $0.00                                                     $1,680.17          $2,169.75
       Jan-22                    $433.95                         $0.00                                                     $2,114.12          $2,603.70
       Feb-22                    $433.95                         $0.00                                                     $2,548.07          $3,037.65
       Mar-22                    $433.95                         $0.00                                                     $2,982.02          $3,471.60
       Apr-22                    $433.95                         $0.00                                                     $3,415.97          $3,905.55
       May-22                    $433.95                         $0.00                                                     $3,849.92          $4,339.50
       Jun-22                    $433.95                         $0.00                                                     $4,283.87          $4,773.45
       Jul-22                    $433.95                         $0.00                                                     $4,717.82          $5,207.40
       Aug-22                    $433.95                         $0.00                                                     $5,151.77          $5,641.35
       Total                     $5,207.40                       -$5,207.48


  Escrow Account History
  This chart shows the estimated and actual activity in your escrow account from 2/1/2021 through 6/1/2021. If the servicing of your
  loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
  history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
  ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
  statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
  chart below.

                    PAYMENTS TO                                          PAYMENTS FROM                                                 ESCROW
                      ESCROW                                                ESCROW                                                     BALANCE
   MONTH-
                Estimated        Actual        Estimated          Description            Actual             Description         Estimated         Actual
    YEAR
                                                                                                  Starting Balance               $2,486.26       -$2,550.01
   Feb-21          $414.37           $0.00           $0.00                               -$235.00            HAZARD*             $2,900.63       -$2,785.01
   Mar-21          $414.37           $0.00           $0.00                                   $0.00                               $3,315.00       -$2,785.01
   Apr-21          $414.37           $0.00           $0.00                                   $0.00                               $3,729.37       -$2,785.01
   May-21          $414.37           $0.00           $0.00                                   $0.00                               $4,143.74       -$2,785.01
   Jun-21          $414.37           $0.00           $0.00                                   $0.00                               $4,558.11       -$2,785.01
     Total       $2,071.85           $0.00           $0.00                               -$235.00

  * The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
                                                                                                                Page   3 of 4
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  Paying the Shortage                     Document     Page 5 of 7
  There is a shortage in your escrow account, which will be collected over the next 12 months with your monthly mortgage
  payment. There are no additional fees or interest to pay the shortage amount over the next 12 months.


                Your escrow shortage of $489.58 will be repaid by adding $40.79 to your next 12 monthly payments.
                This amount is automatically included in your new monthly payment of $1,168.10 beginning 9/1/2021.

                                                No action is required by you.




                        What if I have enrolled in an Automatic Payment Plan?
           If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
           If you use an automatic payment program other than Midland’s, please contact your payment administrator
           and ask them to update your payment to the new amount.




                                            Worried About Payments?
      If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
      8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

      You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.




                         Please review the reverse side of this statement for
                           helpful answers to common escrow questions.
                                                                                                          Page   4 of 4
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                                        Document     Page 6 of 7
  Frequently Asked Escrow Account Questions
   Q1 What is an escrow account?
     Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
     includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
     your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
     With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
     documents every month instead of once or twice a year.

   Q2 Why did Midland change my monthly mortgage payment amount?
     Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
     mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
     mortgage payment are usually because of changes in your taxes or insurance.
         Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
         rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
         taxing authority if you have questions about changes to your property taxes.
         Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
         your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
         your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
         You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
         insurance bills and your options.

   Q3 How often will my escrow payment change?
     Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
     we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
     more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
     insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

   Q4 Will my automatic payments change to cover my new payment amount?
     If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
     amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
     payment administrator and ask them to update your payment to the new amount.

   Q5 What should I do if I think my escrow bills are wrong?
     You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
     has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
     taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

   Q6 What are my options if my payment increased and I can’t afford a higher mortgage
      payment?
     If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
     us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




   Visit www.MyMidlandMortgage.com/Escrow for additional
   helpful answers to frequently asked escrow questions or
                contact us at 1-800-654-4566.
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                          UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                               ) Case No. 21-51345-JRS
                                                      )
 LARRY DARNELL GORE, JR.,                             ) Chapter 13
                                                      )
                  Debtor.                             )
                                                      )

                                    CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on August 9, 2021, I caused the NOTICE OF

MORTGAGE PAYMENT CHANGE which was filed in this bankruptcy matter on August 9, 2021, to be

served in the manner indicated:

  The following parties have been served by the Court by the virtue of their participation in the
CM/ECF system:

John Gerard Brookhuis

Nancy J. Whaley

The following parties have been served via U.S. First Class Mail:

Larry Darnell Gore, Jr.
198 Melody Lane
Lawrenceville, GA 30043

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.

Dated: August 9, 2021                          Signature: /s/Wanda D. Murray
                                               Printed Name: Wanda D. Murray
                                               Address:    Fifteen Piedmont Center
                                                           3575 Piedmont Road, N.E., Suite 500
                                                           Atlanta, GA 30305
                                               Phone:      (404) 994-7400
                                               Fax:        (619) 590-1385




                                                -1-
